Case 22-50035-JPS      Doc 499    Filed 07/18/23 Entered 07/18/23 14:57:33   Desc Main
                                 Document     Page 1 of 10


                       IN THE UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION

 IN RE:                                             CHAPTER 11

 TERI G. GALARDI,                                   CASE NO. 22-50035-JPS

         Reorganized Debtor.

 THOMAS T. MCCLENDON, AS
 LIQUIDATING TRUSTEE OF THE
 GALARDI CREDITORS TRUST,

         Movant,
                                                    CONTESTED MATTER
 v.

 SHAKIR WILLIAMS,

         Respondent.

 THOMAS T. MCCLENDON, AS
 LIQUIDATING TRUSTEE OF THE
 GALARDI CREDITORS TRUST,

         Movant,
                                                    CONTESTED MATTER
 v.

 JOCELYN JOHNSON,

         Respondent.

 THOMAS T. MCCLENDON, AS
 LIQUIDATING TRUSTEE OF THE
 GALARDI CREDITORS TRUST,

         Movant,
                                                    CONTESTED MATTER
 v.

 JAMMIE PARKER,

         Respondent.

      TRUSTEE’S REPLY IN SUPPORT OF OBJECTIONS TO CLAIMS 95, 98, AND 99
Case 22-50035-JPS       Doc 499    Filed 07/18/23 Entered 07/18/23 14:57:33            Desc Main
                                  Document     Page 2 of 10


       Thomas T. McClendon, as liquidating trustee of the Galardi Creditors Trust (“Liquidating

Trustee”), Liquidating Trustee in the above-captioned case, files this reply in support of the

Liquidating Trustee’s objections to Claim No. 95 asserted by Jammie Parker (“Parker”), Claim

No. 98 asserted by Shakir Williams (“Williams”), and Claim No. 99 asserted by Jocelyn Johnson

(“Johnson” and collectively with Parker and Williams, “Respondents”) and respectfully shows this

Court as follows:

       1.      The Court held a hearing on June 21, 2023, at which time the Court invited further

briefing on the issue of whether res judicata applies to Respondents’ proof of claims because the

District Court for the Southern District of Florida dismissed their claims with prejudice under

Federal Rule of Civil Procedure 41(b), notwithstanding Respondents’ pending appeal to the

Eleventh Circuit of the dismissal with prejudice.

       2.      By docket entry, the Court set a response deadline for claimants of July 11, 2023.

The Liquidating Trustee was given until July 18, 2023 to file a reply. See docket entry dated

6/21/2023.

       3.      Parker filed a response on July 11, 2023 (Doc. No. 493).

       4.      The docket does not reflect a response filed by Johnson.

       5.      A notice of transfer of claim and a response by “Respondent Shakir Williams,

through her assignee” Christopher Kosachuk was untimely filed on July 14, 2023. 1

       6.      The Court has previously disallowed transfers of Proofs of Claims that are

categorized in Class 8 of the Joint Plan of Reorganization because such transfers were


1
  As the Court knows, Mr. Kosachuk acknowledged at the June 21, 2023, hearing that he was not
a lawyer and not authorized to represent either Ms. Williams or Ms. Johnson. The Trustee notes
that Mr. Kosachuk had represented that Ms. Johnson had likewise transferred her claim to him
personally, but there appears no evidence of this asserted transfer. The Trustee will leave to the
Court’s determination whether Mr. Kosachuk can file responses as “Respondent Shakir Williams,
through her assignee” without purporting to represent Ms. Williams. On its face, Mr. Kosachuk’s
pleading (as a non-lawyer) appears to be made on behalf of someone else (Shakir Williams).
Case 22-50035-JPS       Doc 499     Filed 07/18/23 Entered 07/18/23 14:57:33              Desc Main
                                   Document     Page 3 of 10


unauthorized under the confirmed Plan. See Doc. No. 495. The Liquidating Trustee will be filing

an objection to the transfer contemporaneously with this reply.

                                         Reply to Parker

       7.      Parker points out that a party may only object to a proof of claim under numerous

grounds set for 11 U.S.C. § 502 and asserts that “res judicata is not one of those grounds.” To the

contrary, 11 U.S.C. § 502(b)(1) provides for an objection “to the extent such claim is unenforceable

against the debtor and property of the debtor under any agreement or applicable law for a reason

other than because such claim is contingent or unmatured.” The point of the doctrine of res judicata

is to prevent a second attempt to impose liability on a defendant, and thus is renders the “claim . .

. unenforceable against the debtor and property of the debtor under . . . applicable law.” See In re

City of Detroit, 531 B.R. 171, 173-175 (Bankr. E.D. Mich. 2015) (applying the doctrine of res

judicata to bar a creditor’s claim under 11 U.S.C. § 502(b)(1)).

       8.      Parker asserts that “the Trustee is unable to cite any cases where claims under

litigation while on appeal are disallowed under the premise they are barred as res judicata.” This

is simply incorrect. The primary case the Trustee cited was In re MF Global Holdings, Ltd., 2014

Bankr. LEXIS 3067 (Bankr. S.D.N.Y. July 17, 2014). After reviewing the elements of res judicata,

that court explained:

       Further, the pendency of an appeal does not affect a decision's finality for res
       judicata purposes. See Huron Holding Corp. v. Lincoln Mine Operating Co., 312
       U.S. 183, 189, 61 S. Ct. 513, 85 L. Ed. 725 (1941) (“In the federal courts the general
       rule has long been recognized that while appeal with proper supersedeas stays
       execution of the judgment, it does not—until and unless reversed—detract from its
       decisiveness and finality.”).

In re MF Global Holdings, Ltd., 2014 Bankr. LEXIS 3067 at *11. In both MF Global Holdings

and this case, the underlying claim was dismissed, but on appeal. In the interim, a proof of claim

was filed and objected to. The MF Global court dismissed the proof of claim notwithstanding the

appeal based on the doctrine of res judicata. Id. This Court should do likewise.
Case 22-50035-JPS       Doc 499       Filed 07/18/23 Entered 07/18/23 14:57:33            Desc Main
                                     Document     Page 4 of 10


                        Reply to Untimely Response by Williams

       9.      The response by Williams was untimely as it was filed three days late. Therefore,

it should not be considered by the Court. See In re Aguila, Inc., No. 21-11776(MG), 2022 Bankr.

LEXIS 2384, at *4 (Bankr. S.D.N.Y. Aug. 30, 2022) (court did not consider a creditor’s response

to debtor’s claim objection as it was untimely filed, “[n]o explanation for the late filing was given

and no request for permission to make the late filing was made.”)

       10.     Even if the merits of the Williams Response is addressed, the Liquidating Trustee’s

objection should still be granted.

                                [reply continues on following page]
Case 22-50035-JPS        Doc 499    Filed 07/18/23 Entered 07/18/23 14:57:33               Desc Main
                                   Document     Page 5 of 10



       11.     Williams asserts that “an appeal does negate the effects of res judicata. Federal

courts will apply the law of the state in which they sit with respect to the doctrine of res judicata.”

This second sentence appears to be a quotation from Wesch v. Folsom, 6 F.3d 1465 (11th Cir.

1993), which is cited by Williams. 2

       12.     Regardless of the general rule, as applied to these particular facts, the Eleventh

Circuit has expressly held that federal common law applies when deciding whether res judicata

applies to a judgment by a federal court sitting based on diversity, and the judgment dismissed the

claim with prejudice under Federal Rule of Civil Procedure 41(b).




2
  This statement appears to be incorrect as a general matter of law, as well as the law as applied to
these particular facts. As a later Bankruptcy Court (which is listed by Lexis as questioning Wesch)
noted:

       The Eleventh Circuit's leading case is Precision Air which cites many cases that
       hold that federal common law is the claim preclusion law to be applied whenever a
       federal judgment is being construed, regardless of the court construing the
       judgment. Earlier cases with the same holding included In re Merrill, 594 F.2d 1064
       (5th Cir. 1979); and Dorey v. Dorey, 609 F.2d 1128 (5th Cir. 1980). Then, in
       McDonald v. Hillsborough County School Bd., 821 F.2d 1563, 1565 (11th Cir.
       1987) the Eleventh Circuit stated "A federal court must apply the law of the state
       in which it sits with respect to the doctrine of res judicata." No authority for this
       proposition was cited. That statement was correct as applied to that case because
       the judgment being construed was a state court judgment. The statement itself was
       wrong. The statement itself was an incomplete statement of the law. In a subsequent
       opinion, without any analysis, the court cites the misstatement when construing a
       prior federal judgment. See, e.g., Wesch v. Folsom, 6 F.3d 1465 (11th Cir. 1993).
       In each of these cases, however, there was no apparent difference between federal
       and state law on this issue, so the comments were dicta. Moreover, this sentence is
       at odds with the great weight of authority from the Eleventh Circuit and is not the
       law.

Am. Gen. Fin. v. Tippins (In re Tippins), 221 B.R. 11, 19 n.8 (Bankr. N.D. Ala. 1998).
Case 22-50035-JPS        Doc 499    Filed 07/18/23 Entered 07/18/23 14:57:33                 Desc Main
                                   Document     Page 6 of 10


       13.     The Eleventh Circuit in Tuitama v. Bank of America, 552 Fed Appx. 881 (11th Cir.

2014) addressed appellant’s argument that “the [United States District Court for the Central

District of California]’s dismissal for failure to prosecute was not a decision on the merits in light

of California state law. However, contrary to [appellant’s] assertion, federal law controls.” Id. at

883.

       14.     As the Eleventh Circuit explained,

       Although the federal common law that governs the claim-preclusive effect of a
       dismissal by a federal court sitting in diversity may in some instances incorporate
       state law, it does not do so in the instant case because no state substantive rights
       were at issue in the California court's ruling. See Semtek Int'l Inc. v. Lockheed
       Martin Corp., 531 U.S. 497, 508-09, 121 S. Ct. 1021, 149 L. Ed. 2d 32
       (2001). Rather, the California court dismissed [appellant’s] claim for failure
       to prosecute and failure to comply with the court's orders, reasons that
       concern the court's "interest in the integrity of [its] own processes." Id. at
       509; see also Vasquez v. Bridgestone/Firestone, Inc., 325 F.3d 665, 678-79 (5th
       Cir. 2003) ("The district court, although exercising diversity jurisdiction, dismissed
       on federal procedural grounds, thus distinguishing Semtek.").

       We therefore need not consult California law and can instead rely exclusively
       on federal law, which clearly dictates that dismissal for failure to prosecute or
       for noncompliance with a court order is a judgment on the merits with claim-
       preclusive effect. Bank of America points to Federal Rule of Civil Procedure 41(b),
       which states that dismissal for failure to prosecute or to comply with a court order
       "operates as an adjudication on the merits." However, this rule is not always
       dispositive of the "adjudication on the merits" element of res judicata. Semtek, 531
       U.S. at 503 ("In short, it is no longer true that a judgment 'on the merits' is
       necessarily a judgment entitled to claim preclusive effect; and there are a number
       of reasons for believing that the phrase 'adjudication on the merits' does not bear
       that meaning in Rule 41(b)."). Nevertheless, numerous decisions support the
       conclusion that a dismissals like the one at issue are preclusive. See, e.g., Bierman
       v. Tampa Elec. Co., 604 F.2d 929, 930-31 (5th Cir. 1979); Bragg v. Flint Bd. of
       Educ., 570 F.3d 775, 776-77 (6th Cir. 2009); Kimmel v. Tex. Commerce Bank, 817
       F.2d 39, 40-41 (7th Cir. 1987); see also 18A Charles A. Wright & Arthur R.
       Miller, Federal Practice and Procedure § 4435 (2d ed. 2002) ("[D]ismissals for
       failure of the plaintiff to prosecute or to comply with . . . any order of the court . . .
       operate as an adjudication on the merits unless the court specifies otherwise . . .
       . Ordinarily no difficulty is encountered in this area.").
Case 22-50035-JPS        Doc 499    Filed 07/18/23 Entered 07/18/23 14:57:33              Desc Main
                                   Document     Page 7 of 10


Tuitama v. Bank of Am., 552 F. App'x 881, 883 (11th Cir. 2014) (emphasis added). Thus, putting

aside any confusion as to the general rule, the clear rule on these facts is that federal law applies

to a dismissal with prejudice pursuant to Federal Rule of Civil Procedure 41(b).

       15.     Should there be any remaining confusion as to whether federal law applies, Harun

v. Geor. Dep’t of Juvenile Justice, 2022 U.S. Dist. LEXIS 92392 (M.D. Ga. May 23, 2022)

eliminates it. There, Judge Self stated:

       Dismissals for failure to prosecute or to comply with the rules or orders of a court
       operate as an adjudication on the merits. See Fed. R. Civ. P. 41(b). "However, this
       rule is not always dispositive of the 'adjudication on the merits' element of res
       judicata." Tuitama v. Bank of Am., N.A., 552 F. App'x 881, 883 (quoting Semtek
       Int'l Inc. v. Lockheed Martin Corp., 531 U.S. 497, 503, 121 S. Ct. 1021, 149 L. Ed.
       2d 32 (2001)). Though Rule 41 may not always mandate a dismissal under it as an
       adjudication on the merits, Eleventh Circuit precedent (emanating from the former
       Fifth Circuit) does. Its binding case law dictates that any dismissal for failing to
       prosecute one's case serves as an adjudication on the merits with preclusive effect.
       Id. (citing Bierman v. Tampa Elec. Co., 604 F.2d 929, 930-31 (5th Cir. 1979)).

Id. at *4-5. Judge Self applies res judicata.

       16.     Thus, federal law applies to the issue of whether the dismissal with prejudice

triggers the doctrine of res judicata in this bankruptcy case. Thus, the citations to Georgia and

Florida law raised by Williams are irrelevant.

       17.     The Liquidating Trustee has already cited the Eleventh Circuit in Griswold v. Cty.

of Hillsborough, 598 F.3d 1289, 1292 (11th Cir. 2010) on the elements of res judicata and the

application of those facts to these claims. The Liquidating Trustee respectfully incorporates by

reference paragraphs 14 – 21 of each of the objections (Doc. Nos. 416, 417, and 418).

       18.     The Liquidating Trustee respects the fact that if this objection is granted, these

creditors will not share in the distributions from the Trust even though they have an appeal pending

with the Eleventh Circuit of the dismissal with prejudice by the District Court.

       19.     However, these particular creditors were found by the District Court to have not

complied with their obligations in the underlying lawsuit and had their claims dismissed with
Case 22-50035-JPS       Doc 499    Filed 07/18/23 Entered 07/18/23 14:57:33              Desc Main
                                  Document     Page 8 of 10


prejudice as a result. The other creditors have complied with their obligations in prosecuting their

claims against Ms. Galardi in the underlying cases and arbitrations. If the Liquidating Trustee’s

objection is overruled and these claims are included in the distributions, then the distributions to

the creditors who complied with their obligations will be diluted.

       20.     The Liquidating Trustee suggests that to the extent the equities of these objections

need to be considered, such equities weigh in favor of the creditors who complied with their

obligations in the underlying litigation rather than those whom the District Court found did not

comply with their obligations.

       21.     Res judicata does apply even if the case is on appeal. See Huron Holdings Corp. v.

Lincoln Mine Operating Co., 312 U.S. 183, 189 (1941) (“To the same effect, in the federal courts

the general rule has long been recognized that while appeal with proper supersedeas stays

execution of the judgment, it does not – until and unless reversed – detract from its decisiveness

and finality.”); In re MF Glob. Holdings, Ltd., 2014 Bankr. LEXIS 3067, at *11 (Bankr. S.D.N.Y.

July 17, 2014) (applying res judicata to disallow a claim currently on appeal and citing Huron).

Neither Parker nor Williams even mentions these cases which were cited in the Liquidating

Trustee’s objections.

       WHEREFORE, the Liquidating Trustee requests the following relief:

       (a) That the Objections be sustained;
       (b) That the Claims be disallowed; and
       (c) That the Court awards the Liquidating Trustee such other and further relief as is just
           and proper.
       Respectfully submitted this 18th day of July, 2023.

                                                /s/ Thomas T. McClendon
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                                                Liquidating Trustee
Case 22-50035-JPS        Doc 499     Filed 07/18/23 Entered 07/18/23 14:57:33               Desc Main
                                    Document     Page 9 of 10


                           IN THE UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF GEORGIA
                                       MACON DIVISION

  IN RE:                                                      CHAPTER 11

  TERI G. GALARDI,                                            CASE NO. 22-50035-JPS

           Reorganized Debtor.

  THOMAS T. MCCLENDON, AS
  LIQUIDATING TRUSTEE OF THE
  GALARDI CREDITORS TRUST,

         Movant,
                                                              CONTESTED MATTER
  v.

  SHAKIR WILLIAMS,

         Respondent.

  THOMAS T. MCCLENDON, AS
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  GALARDI CREDITORS TRUST,

         Movant,
                                                              CONTESTED MATTER
  v.

  JAMMIE PARKER,

         Respondent.

                                   CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Trustee’s Reply in
 Support of Objections to Claims 95, 98, and 99 (the “Reply”) using the Bankruptcy Court’s Electronic
Case 22-50035-JPS       Doc 499 Filed 07/18/23 Entered 07/18/23 14:57:33                   Desc Main
                               Document    Page 10 of 10


 Case Filing program, which sends a notice of and an accompanying link to the Reply to the following
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         I further certify that I served a true and correct copy of the foregoing Reply on all parties
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        This 18th day of July, 2023.
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